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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


 BLUE CROSS AND BLUE SHIELD OF
 FLORIDA, INC., and HEALTH OPTIONS,
 INC.,

                                                CASE NO.: 3:19-cv-574-J-39MCR
       Plaintiffs,

 v.

 DAVITA, INC. f/k/a DAVITA HEALTHCARE
 PARTNERS INC.,

       Defendant.


  PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Middle District of Florida Local Rule 1.11(c), Plaintiffs Blue

 Cross and Blue Shield of Florida, Inc. and Health Options, Inc. (collectively,

 “Florida Blue”) respectfully request that this Court permit the following documents

 to be filed under seal: (1) an unredacted version of the expert report of Kevin Cornish

 dated September 20, 2021, filed as Exhibit 47 to Plaintiffs’ Motion for Partial

 Summary Judgment; (2) an unredacted version of the supplemental expert report of

 Kevin Cornish dated December 14, 2021, filed as Exhibit 48 to Plaintiffs’ Motion for

 Partial Summary Judgment; (3) an unredacted version of the expert report of Dr.

 Teri Browne dated September 20, 2021, filed as Exhibit D to Plaintiffs’ Motion to

 Exclude the Expert Opinions and Testimony of Gregory S. Russo; (4) an unredacted

 version of the expert report of Roger Colinvaux dated September 20, 2021; (5)
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 Exhibit 1 cited in support of Plaintiffs’ Motion for Partial Summary Judgment; (6) an

 unredacted version of Exhibit 2 cited in support of Plaintiffs’ Motion for Partial

 Summary Judgment; (7) Exhibit 3 cited in support of Plaintiffs’ Motion for Partial

 Summary Judgment; and (8) an unredacted version Exhibit 49 cited in support of

 Plaintiffs’ Motion for Partial Summary Judgment.

                                      ARGUMENT

 I.    Legal Standard

       A party seeking to seal materials must file a motion to seal that includes the

 following: (1) a description of the item proposed for sealing; (2) the reason filing the

 item is necessary, the reason sealing the item is necessary, and the reason partial

 sealing, redaction, or means other than sealing are unavailable or unsatisfactory;

 (3) the proposed duration of the seal; (4) the name, mailing address, email address,

 and telephone number of the person authorized to retrieve a sealed, tangible item;

 and (5) a legal memorandum supporting the seal. M.D. Fla. L.R. 1.11(c). As

 demonstrated below, Plaintiffs have met each of these requirements, and the Court

 should grant Plaintiffs’ request to seal under Local Rule 1.11(c).

 II.   Eight items to be filed under seal

       A.     Description of the items proposed for sealing (L.R. 1.11(c)(3))

       Plaintiffs seek to seal: (1) an unredacted version of the expert report of Kevin

 Cornish dated September 20, 2021; (2) an unredacted version of the supplemental

 expert report of Kevin Cornish dated December 14, 2021; (3) an unredacted version

 of the expert report of Dr. Teri Browne dated September 20, 2021; (4) an unredacted
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 version of the expert report of Roger Colinvaux dated September 20, 2021; (5) and

 four exhibits cited in support of Plaintiffs’ Motion for Partial Summary Judgment.

 The unredacted versions of these documents must be filed for the Court to know the

 particular content Florida Blue refers to in its motions to exclude three DaVita

 experts: James Galasso, Gregory Russo, and Dr. Monica Noether, as well as the

 particular content Florida Blue refers to in its Motion for Partial Summary

 Judgment. The unredacted versions are important for the Court to order any relief it

 deems appropriate.

       The unredacted versions of Kevin Cornish’s expert report dated September 20,

 2021 and Kevin Cornish’s supplemental expert report dated December 14, 2021,

 must be filed under seal because the redacted portions refer to, quote from, and

 discuss information derived from documents marked “Confidential” or “Attorneys

 Eyes Only” by the parties and non-party AKF. These documents contain patient

 health information, including plan enrollment, premium payment amounts, and

 other HIPAA-protected material. Mr. Cornish’s Reports are cited as Exhibits 47 and

 49 to Florida Blue’s Motion for Partial Summary Judgment (ECF No. 242) and are

 referenced in Florida Blue’s Motion to Exclude the Opinions of James P. Galasso

 (ECF No. 243) and Florida Blue’s Motion to Exclude the Expert Report of Monica

 G. Noether (ECF No. 244). Florida Blue will file redacted versions of his reports

 publicly when, and if, the Court grants this Motion.

       The unredacted version of Dr. Teri Browne’s expert report dated September

 20, 2021 must be filed under seal because the redacted portions refer to, quote from,
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 and discuss thousands of lines of patient notes produced by DaVita reflecting

 DaVita’s interactions with patients regarding insurance and AKF-related issues. Dr.

 Browne also identifies steering efforts, explains why that is problematic, and

 discredits various rationales for-profit dialysis providers use to argue that commercial

 insurance is the best option for patients. The notes that form the basis of Dr.

 Browne’s testimony contain patient health information and constitute HIPAA-

 protected material. The documents that form the basis of Dr. Browne’s testimony

 have also been marked “Confidential” or “Attorneys’ Eyes Only.” Ms. Browne’s

 report is cited as Exhibit D to Florida Blue’s Motion to Exclude the Expert Opinions

 and Testimony of Gregory S. Russo (ECF No. 241) and referenced in Florida Blue’s

 Motion to Exclude the Expert Report of Monica G. Noether (ECF No. 244). Florida

 Blue will file a redacted version of her report publicly when, and if, the Court grants

 this Motion.

       The unredacted version of Roger Colinvaux’s expert report dated September

 20, 2021 must be filed under seal because the redacted portions refer to, quote from,

 and discuss documents and deposition testimony marked “Confidential” or

 “Attorneys’ Eyes Only” by the parties. In particular, Mr. Colinvaux’s report

 discusses (1) DaVita’s donations to the AKF and the characterization of such

 donations. and (2) the operation of AKF’s Health Insurance Premium Program on

 the qualifications to be eligible to be a 501(c)(3) organization. Mr. Colinvaux’s report

 is referenced in Florida Blue’s Motion for Partial Summary Judgment (ECF No.

 242). Florida Blue will file a redacted version of his report publicly when, and if, the
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 Court grants this Motion.

          Exhibit 1 to Florida Blue’s Motion for Partial Summary Judgment (ECF No.

 242), the Ancillary Provider Agreement between Florida Blue and DaVita, must be

 filed under seal because this Agreement contains confidential rate information and

 would be damaging to Florida Blue’s business if this information was released to the

 public.

          Exhibit 2 to Florida Blue’s Motion for Partial Summary Judgment (ECF No.

 242), the deposition transcript of Florida Blue witness, Shawn Trotter-Mitchell, must

 be partially filed under seal because unredacted portions of Ms. Trotter-Mitchell’s

 deposition transcript have been designated confidential, as it discusses confidential

 information regarding Florida Blue’s internal business plans relating to third-party

 premium payments, Florida Blue’s business relationship with DaVita competitors,

 and other internal Florida policies and procedures that would be harmful to Florida

 Blue if released to the public.

          Exhibit 3 to Florida Blue’s Motion for Partial Summary Judgment (ECF No.

 242), an exemplar Florida Blue insurance plan, Florida Blue’s BlueOptions,

 Platinum 1424 Plan, must be filed under seal because it contains confidential

 information regarding Florida Blue’s insurance plan offerings to its members and it

 would be damaging to Florida Blue’s business if this information was released to the

 public

          Exhibit 49 to Florida Blue’s Motion for Partial Summary Judgment (ECF No.

 242), the deposition transcript of Florida Blue expert, Kevin Cornish, must be
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 partially filed under seal because unredacted portions discuss Florida Blue’s damages

 analysis, which is derived exclusively from documents marked “Confidential” or

 “Attorneys’ Eyes Only” and documents containing patient health information

 including plan enrollment, premium payment amounts, and other HIPAA-protected

 material.

       B.     Reason filing the items is necessary, sealing the items is necessary,
              and partial sealing is unavailable (L.R. 1.11(c)(3))

       The expert report and supplemental expert report of Mr. Cornish are necessary

 to address and support the arguments raised in Florida Blue’s Motion for Partial

 Summary Judgment (ECF No. 242), Florida Blue’s Motion to Exclude the Expert

 Report of Monica Noether (ECF No. 244), Florida Blue’s Motion to Exclude the

 Expert Opinions and Testimony of Gregory Russo (ECF No. 241), and Florida

 Blue’s Motion to Exclude the Opinions of James Galasso (ECF No. 243). Dr.

 Browne’s expert report is necessary to address and support the arguments raised in

 Florida Blue’s Motion to Exclude the Expert Opinions and Testimony of Gregory

 Russo (ECF No. 241) and Florida Blue’s Motion to Exclude the Expert Report of

 Monica Noether (ECF No. 244). Mr. Colinvaux’s expert report is necessary to

 address and support the arguments raised in Florida Blue’s Motion for Partial

 Summary Judgment (ECF No. 242). Exhibits 1, 2, 3, and 49 are necessary to address

 and support the arguments raised in Florida Blue’s Motion for Partial Summary

 Judgment (ECF No. 242). Partially sealing the expert reports, and the deposition

 transcripts of Ms. Trotter-Mitchell (Exhibit 3), Mr. Cornish (Exhibit 49), and sealing


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 the entirety of Exhibits 1 and 2 is necessary because they contain confidential,

 proprietary, and non-public patient health information. For this reason alone, filing

 under seal is necessary. Moreover, these documents quote from or discuss

 information from exhibits previously filed under seal in this case. In addition,

 Exhibits 1, 2, 3, and 49, or portions thereof, have been marked “Confidential” and

 the documents used as the basis for Florida Blue’s expert reports have also been

 marked “Confidential” and “Attorneys’ Eyes Only” under the parties’ Stipulated

 HIPAA Qualified Protective Order (ECF Nos. 55, 55-1, 58). Both parties have

 agreed that pursuant to their Protective Order, which the Court approved (ECF No.

 58), Protected Material, including documents designated as “Confidential” and

 “Attorneys’ Eyes Only” must be filed under seal “in connection with a motion or

 court proceeding.” ECF No. 55-1 § 13.1.

       Absent sealing these documents, in whole or in part, this confidential and

 proprietary information would be publicly disclosed to the detriment of Plaintiffs.

 Other providers could attempt to use it to harm Florida Blue in the same manner as

 is the subject of this lawsuit. The only way to prevent this harm is to permit the entire

 document to be filed under seal.

       C.     Proposed duration of the seal (L.R. 1.11(c)(4))

       Plaintiffs request that the Court seal the documents listed above for the

 duration of this lawsuit and any subsequent appeal. See M.D. Fla. L.R. 1.11(f) (“No

 seal under this rule extends beyond ninety days after a case is closed and all appeals

 exhausted.”).
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       D.     The name, mailing address, email address, and telephone number of
              the person authorized to retrieve a sealed, tangible item
              (L.R. 1.11(c)(5))

       All counsel of record in this case may retrieve the sealed copies of the sealed

 material.


       E.     A legal memorandum supporting the seal (L.R. 1.11(c)(6))

       In evaluating a motion to seal, courts balance a party’s interest in keeping the

 information confidential against the public’s interest in accessing court documents.

 See Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2005). Courts

 consider many factors when balancing the public’s interest in access against a party’s

 interest in privacy, including “whether allowing access would impair court functions

 or harm legitimate privacy interests, the degree of and likelihood of injury if made

 public, the reliability of the information, whether there will be an opportunity to

 respond to the information, whether the information concerns public officials or

 public concerns, and the availability of a less onerous alternative to sealing the

 documents.” Id. The Eleventh Circuit has recognized that “[a] party’s privacy or

 proprietary interest in information sometimes overcomes the interest of the public in

 accessing the information.” Id.

       Here, the interests of Plaintiffs outweigh the interests of the public in accessing

 the confidential, proprietary, protected, and competitively sensitive material that

 Plaintiffs seek to seal through this motion. Courts in this District routinely seal

 documents containing sensitive business or financial information. See, e.g., Fid. Nat’l


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 Fin., Inc. v. Attachmate Corp., No. 3:15-CV-1400-J-20PDB, 2016 U.S. Dist. LEXIS

 154036, at *4 (M.D. Fla. Nov. 7, 2016) (granting motion to seal company’s

 compliance portal); Suntree Techs, Inc. v. Ecosense Int’l, Inc., No. 6:09-cv-1945-Orl-

 28GJK, 2012 U.S. Dist LEXIS 195324, at *6-7 (M.D. Fla. Nov. 16, 2012) (granting

 motion to seal plaintiff’s balance sheets and profit and loss statements); United States

 ex rel. Westfall v. Axiom Worldwide, Inc., No. 8:06-cv-571-T-33TBM, 2008 U.S. Dist.

 LEXIS 104725, at *12-14 (M.D. Fla. Dec. 19, 2008) (granting motion to seal

 customer lists and company manual).

        The documents Florida Blue moves to seal fall squarely within the class of

 documents for which courts find that private interests outweigh public ones. As

 discussed above, the information contained in the sealed material is confidential,

 proprietary, HIPAA-protected, and non-public. There is no public interest

 outweighing the private interests discussed above. Thus, the balance weighs

 overwhelmingly in favor of the private interest in maintaining confidentiality of the

 exhibits.

                                      CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court enter

 an order providing the following relief:

             • allowing the unredacted versions of the expert report and supplemental

                expert report of Mr. Kevin Cornish (ECF Nos. 242-48; 242-49) to be

                filed under seal and redacted versions to be filed publicly;



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           • allowing the unredacted version of the expert report of Dr. Teri Browne

               (ECF No. 241-5) to be filed under seal and a redacted version to be filed

               publicly;

           • allowing the unredacted version of the expert report of Mr. Roger

               Colinvaux to be filed under seal and a redacted version to be publicly;

           • allowing Exhibits 1 and 3 to Florida Blue’s Motion for Partial Summary

               Judgment (ECF Nos. 242-2; 242-4) to be filed under seal

           • allowing an unredacted version of Exhibit 2 to Florida Blue’s Motion

               for Partial Summary Judgment (ECF No. 242-3) to be filed under seal

               and a redacted version to be filed publicly; and

           • allowing an unredacted version of Exhibit 49 (ECF No. 242-50) to

               Florida Blue’s Motion for Partial Summary Judgment to be filed under

               seal and a redacted version to be filed publicly.

                      LOCAL RULE 3.01(g) CERTIFICATION

        Florida Blue certifies that it has conferred in good faith with DaVita, and

  DaVita does not oppose the relief sought herein.


  DATED: January 14, 2022
                                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was filed on

  January 14, 2022 with the Court’s electronic filing system which will send notice of

  filing to all counsel of record.


                                           By: /s/ Jared J. Burns




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